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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

DARLENE HUGHES,
                                            Case No. 1:15-cv-00007-MW-GRJ
                 Plaintiff,
v.

FAMILY LIFE CARE, INC.
a Florida Corporation,

                 Defendant.
                              /

                    MOTION FOR ATTORNEY’S FEES

      Plaintiff, Darlene Hughes, moves for an award of attorney's fees, per

the timeline discussed during the proceeding held on September 28, 2016 as

follows:

I.    Background

      After finding that Plaintiff was not an independent contractor via

partial summary judgment, this Court held a bench trial on September 28,

2016 determining Plaintiff’s damages on her Fair Labor Standards Act

(“FLSA”) claim. Judgments were entered on September 30, 2016 in the sum

of $16,820.98 and on October 3, 2016 for $1,900 for costs.

II.   Analysis

      Attorneys’ fees are due Plaintiff per both the mandatory language in

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the FLSA and this Court’s Order Granting Plaintiff’s Motion to Compel, Doc.

26. In determining a reasonable hourly rate, the delay in receiving payment

should be considered when establishing the applicable hourly rate. Finally,

as reflected by the undersigned’s time records, this case has been hard

fought by the Defendant and payment of the wages due Plaintiff is continued

to be delayed via appeal.

     A.    Entitlement Under the FLSA

     In suits to recover unpaid overtime wages, the FLSA mandates that

the Court “shall, in addition to any judgment awarded to the plaintiff or

plaintiffs, allow a reasonable attorney’s fee to be paid by the defendant, and

costs of the action.” 29 U.S.C. § 216(b). This provision has been interpreted

to mean that “fee awards [are] mandatory for prevailing plaintiffs.” Kreager

v. Solomon & Flanagan, P.A., 775 F.2d 1541, 1542 (11th Cir. 1985); see also

Shelton v. Ervin, 830 F.2d 182, 184 (11th Cir. 1987) (“Section 216 provides

for an award of attorney’s fees, as opposed to granting the court discretion in

awarding such fees, to the prevailing plaintiff in FLSA cases.”).

     In the Eleventh Circuit, reasonableness is generally determined using

the familiar lodestar approach. “The starting point in fashioning an award of

attorney’s fees is to multiply the number of hours reasonably expended by a



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reasonable hourly rate.” Loranger v. Stierheim, 10 F.3d 776, 781 (11th Cir.

1994) (per curiam); see also Hensley v. Eckerhart, 461 U.S. 424, 433 (1983).

The party moving for fees has the burden of establishing that the hourly rate

and hours expended are reasonable. See Norman v. Housing Auth. of the City

Montgomery, 836 F.2d 1292, 1303 (11th Cir. 1988). In making such

determinations, the Court is an expert on the issues of the prevailing

market’s reasonable hourly rates for similar work and hours expended.

Norman, 836 F.2d at 1303; Loranger v. Stierheim, 10 F.3d 776, 782 (11th

Cir. 1994).

     B.       Entitlement Per the Order Granting Motion to Compel

     At Doc. 26, the Court granted Plaintiff’s Motion to Compel with a

determination as to attorney’s fees to follow. The Court held that “Under

the circumstances of this case, an [attorney fee] award is ‘mandatory.’ This is

because Defendant did not comply with Rule 34(b)(2)(B). The amount of fees

will be determined at the conclusion of the case.” This fee award should also

be borne by Defendant’s counsel because the issue was a failure to comply

with the Rules of Civil Procedure. See e.g. Branhaven LLC v. Beeftek, Inc.,

—F.R.D.—, 2013 WL 388429 (D. Md. Jan. 4, 2013) (imposing sanctions for

discovery violations, including violations of Fed. R. Civ. P. 34(b) addressing



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the appropriate format of production, jointly and severally against plaintiff

and its counsel). In Branhaven, similar to the instant situation, the court

noted as follows when making the award jointly against counsel:

      However, neither does this judge want to endorse this “hands
      off” approach in working with clients to meet discovery
      obligations and this casual and even reckless attitude of
      plaintiff's counsel to opposing party's right to timely and orderly
      discovery. . . . As plaintiff's counsel has an affirmative duty to
      assure that their client responds completely and promptly to
      discovery requests. . . If all counsel operated at this level of
      disinterest as to discovery obligations, chaos would ensue and
      the orderliness of the discovery process among counsel in federal
      courts, which is exquisitely dependent on honorable attorney
      self-regulation, would be lost.

Id. at *5.

      In this instant case, as noted in the Court’s Order at 26, Defendant’s

counsel responded to Plaintiff’s with several hundred pages of documents

and a one-paragraph explanation that they were produced “as kept in the

ordinary course of Defendant’s business.” However, as noted in the Order,

not all of Plaintiff’s time sheets were even produced. Therefore, like the

situation in Branhaven, the award for the time awardable per the Court’s

Order at Doc. 26 should be against Defendant and its counsel because

counsel did not comply with Rule 34(b)(2)(B).

      C.     Reasonable Hourly Rate



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      It is appropriate to apply a higher hourly rate to account for the delay

in receiving payment. See Gray ex rel. Alexander v. Bostic, 613 F.3d 1035,

1045 (11th Cir. 2010); Perdue v. Kenny A., 559 U.S. 542, 130 S.Ct. 1662, 176

L.Ed.2d 494 (2010). This litigation in this case has been unnecessarily

prolonged and is promised by Defendant to be further protracted via a

frivolous appeal. As per the Declaration of Bernie Mazaheri, attached hereto

as Exhibit A, a reasonable hourly rate under these circumstances is $425

per hour. See also CHI v. Machen, Case No. 1:07cv135-MW/GRJ (N.D. Fla.

Oct. 1, 2014) (citing Gray ex rel. Alexander, 613 F.3d at 1045 for the

conclusion that a higher hourly rate is appropriate to “account for the delay

in receiving payment” and awarding one attorney $425 per hour). 1

      Defendant may argue that its counsel was billing its client at $300 per

hour as reflected in the attached Exhibit D. However, as per it counsel’s

website, Mr. Aguilar is not an employment or labor lawyer and makes no

mention of such work on his own website.2 Moreover, amounts paid by


1   Mr. Mazharai was paid a fee of $1,500.00 for his work, which is also
    requested via this Motion for having to litigate the instant issue of
    attorneys’ fees. See Exhibit G; See also e.g. Sheet Metal Workers Int'l
    Ass'n Local 15, AFL-CIO v. Law Fabrication, LLC, 237 Fed. Appx. 543,
    550 (11th Cir.2007) ("federal statutory fee-shifting provisions ordinarily
    authorize fees on fees").
2   Mr. Aguliar “concentrates his practice in the areas of commercial,
    construction and real estate litigation, including creditors’ rights,

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Defendant were paid immediately to Mr. Aguilar – Plaintiff has had to wait

years and will have to wait much longer for payment … if ever. The risk of

nonpayment and the fact that payment may occur well over a year from now

simply means that a practitioner quoting the work today would have to

charge a higher hourly rate to account for these risks.3 See Grant v. George

Schumann Tire & Battery Co., 908 F.2d 874, 880 (11th Cir. 1990) ("Lodestar

rates may be enhanced based on risk of non-recovery, excellent or

exceptional results, or delay in receipt of payment.").

      D.    Reasonable Hours

      In proving reasonable hours, a movant “should have maintained

records to show the time spent on the different claims, and the general

subject matter of the time expenditures ought to be set out with sufficient

particularity so [the court] can assess the time claimed for each activity.”

Norman, 836 F.2d at 1303. A party opposing a fee application should also

submit objections and proof that are “specific and reasonably precise”



    construction and related lien matters and bankruptcy.”
    http://sieronlaw.com/attorney-profiles/bob-aguilar/.
3   To the extent Defendant attempts to argue that hourly rates charged by
    attorneys representing the government or other entities are applicable,
    that is a comparison of apples to oranges because the volume of work
    performed for those clients makes up for an unusually low hourly rate and
    is not reflective of the actual applicable market.

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concerning those hours that should be excluded. Barnes, 168 F.3d at 428. A

fee opponent’s failure to explain with specificity the particular hours he

views as unnecessary or duplicative is generally fatal. Gray v. Lockheed

Aeronautical Systems Co., 125 F.3d 1387 (11th Cir. 1997).

      In assessing attorneys’ fees, a comparison to the amount received by

the Plaintiff is inappropriate. As stated by the court in Cain v. Almeco USA,

Inc., 2014 U.S. Dist. LEXIS 70900 (N.D. Ga. May 23, 2014):

      [I]t is true that the lodestar amount is more than ten times that of
      her actual and statutory damages. But that is not remarkable in an
      individual FLSA case seeking overtime. Accordingly, I decline to
      reduce the lodestar amount for limited success on the merits of the
      claim. Therefore, the Plaintiff's Motion for Attorney's Fees [Doc. 72]
      is GRANTED in the amount of $173,300.50.

As such, the issue before the Court is the hours reasonably expended on

this case.4


4   Even the contingency agreement between Plaintiff and her counsel is
    irrelevant because the real issue is to assure that Plaintiff’s counsel is
    adequately compensated. See Silva v. Miller, 307 Fed.Appx. 349, 351 (11 th
    Cir 2009) (“That Silva and Zidell entered into a contingency contract to
    establish Zidell's compensation if Silva prevailed on the FLSA claim is of
    little moment in the context of FLSA. FLSA requires judicial review of the
    reasonableness of counsel's legal fees to assure both that counsel is
    compensated adequately and that no conflict of interest taints the amount
    the wronged employee recovers under a settlement agreement.”), citing
    United Slate, Tile & Composition Roofers v. G & M Roofing & Sheet Metal
    Co., 732 F.2d 495, 504 (6th Cir. 1984) ("the determination of a reasonable
    fee is to be conducted by the district court regardless of any contract
    between plaintiff and plaintiff's counsel"); see also Zegers v. Countrywide

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            1.   Hours for the FLSA Litigation

      Time spent by Plaintiff’s counsel in this case was multiplied by

Defendant's dilatoriness, as partially reflected in the Court’s Order on

Plaintiff’s Motion to Compel (Doc. 26). The case was marred with

Defendant’s refusal to timely supply documents, such as pay records and

time cards, that are indisputably relevant. Because of delays in the

production of documents by the Defendant, Plaintiff had to continuously

modify and correct her calculations as to amounts due. Defendant even

continued to deny in its answer it was covered under the FLSA (something

easily determined by looking at its own gross income 5) until Plaintiff forced

the issue in about March, 2016. Even up until right before trial, the Plaintiff

was still requesting pay records that had not been previously produced. For

example, on September 13, 2016, Plaintiff’s counsel was forced to again

request compensation reports for November 24, 2014 and December 8, 2014

which had not been previously produced. Defendant’s efforts to make the

case as expensive and time consuming as possible were evident from its


    Mortg. Ventures, LLC, 569 F.Supp.2d 1259 (M.D. Fla. 2008).
5   Employees who work for certain businesses or organizations (or
    "enterprises") are covered by the FLSA. These enterprises, which must
    have at least two employees, include those that have an annual dollar
    volume of sales or business done of at least $500,000.
    https://www.dol.gov/whd/regs/compliance/whdfs14.pdf

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exhibit list which lists 32 exhibits the vast majority of which Defendant did

not even attempt to use at trial. Defendant’s defense of this matter was

either so sloppy or intentionally misleading that it tried to cross examine

Plaintiff on a document that it wrongfully combined to a different document.

See Exhibits E and F. Dealing with things such as Defendant’s false

accusations that she was a fraud – something which actually turned out to

be Defendant stapling the wrong documents (the attached Exhibits E and

F) together – added time and complexity to this case.

      In this case, Plaintiffs seek attorney's fees for only the undersigned. No

assistant or law clerk time is requested. The requested fees are based on the

contemporaneous time records attached hereto as Exhibit B. A declaration

from the undersigned is attached hereto as Exhibit C. Those records total

231 hours. Plaintiff's expert, as per the report attached hereto as Exhibit

A, has carefully and critically reviewed the records and has opined that 231

hours are reasonable for a total of $98,175.00. Moreover, an additional 1.8

hours were expended preparing this Motion after the attorney time was

provided to the expert for a total requested hours of $98,940 (231 hours plus

1.8 hours multiplied by $425 per hour).6


6    Time spent in litigating the issue of entitlement to fees is properly
    included in computing the loadstar. Jonas v. Stack, 758 F.2d 567, 568-69

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           2.    Hours for the Motion to Compel

     16.5 of the 232.8 hours (i.e. 231 hours plus 1.8 hours) mentioned supra

were related to the Motion to Compel. Specifically, these entries: April 28,

2015 for 1.10 hours, April 29, 2015 for .5 hours, April 29, 2015 for .1 hours, 3

entries on April 30, 2015 for .1 each, May 9, 2015 for 2.8, May 11, 2015 for

.7, 2 entries on May 11, 2015 for .1, May 13, 2015 for .6, May 14, 2015 for .2

hours, June 6, 2015 for .2 hours, July 9, 2015 for .2, July 9, 2015 for 3.7

hours and July 17, 2015 for .2 hours. Additionally, the following time was

spent on preparing the instant Motion: October 18, 2016 for 1.9 hours,

October 19, 2016 for 2 hours and October 21, 2016 for 1.8 hours. Martin v.

University of South Alabama, 911 F.2d 604, 610 (11th Cir.1990) ("It is well

settled that time expended litigating attorney fees is fully compensable.").

III. Conclusion

     Plaintiff requests an award against Defendant in the amount of

$98,940 incurred through today's date, plus reimbursement from the

Defendant for the costs of hiring expert Bernie Mazaheri in the sum of

$1,500 for a grand total of $100,440. Plaintiff requests that $7,012.50 of that

amount (16.5 hours x $425) be awarded against both Defendant and its



  (11th Cir. 1985).

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counsel jointly and severally and via a separate judgment so that it is not

intertwined with Defendant’s unrelated appeal of Plaintiff’s FLSA judgment

and thus immediately owed.

                  Certificate of Good Faith Conference

     Plaintiff conferred in good faith with counsel for Defendant on the

relief requested in this motion and the parties could not reach a resolution

except that they agree that the fee motion will be handled via the filing of

affidavits for both parties without oral argument.



Dated: October 24, 2016                       /s/Michael Massey
                                              Michael Massey
                                              FBN 153680


              CERTIFICATE OF SERVICE AND LENGTH

      I HEREBY CERTIFY that a true and correct copy of the foregoing has

filed and served on counsel for the Defendant via filing with the Court’s ECF

system which will send a copy to the same and via email. This documents

has 2440 words and is in 14 point font.

                                          /s/Michael Massey
                                          Massey & Duffy, PLLC
                                          855 E. Univ. Ave.
                                          Gainesville, FL 32601
                                          352-505-8900

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